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                                                                              Page 1
                UNITED STATES DISTRICT COURT

                EASTERN DISTRICT OF NEW YORK

             C.A. No. CV-0401945(JBW)(SMG)

   *   *    *    *   *   *   *   *   *   *   *   *   *   *

  BARBARA SCHWAB, et al., Individually                   *

  and on behalf of a class of all                        *

  others similarly situated,                             *

                 Plaintiffs                              *

  v.                                                     *

  PHILIP MORRIS USA, INC., et al.,                       *

                 Defendants                              *

   *   *    *    *   *   *   *   *   *   *   *   *   *   *

                      PAGES 1-294

           VIDEOTAPED DEPOSITION OF STEVEN P.

   GASKIN, a witness called on behalf of the

   Defendant R.J. Reynolds Tobacco Company,

   pursuant to the Federal Rules of Civil

   Procedure, before Jessica L. Williamson,

   Registered Merit Reporter, Certified

   Realtime Reporter and Notary Public in and

   for the Commonwealth of Massachusetts, at

   the Offices of Goodwin Procter, LLC, 53

   State Street, Boston, Massachusetts, on

   Tuesday, May 9, 2006, commencing at 9:38

   a.m.




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 1     was not difficult.                                  1   Q. And is there anyone to whom you report?
 2   Q. What was the nature of your clientele there?       2   A. As I said, I report to Bob Klein.
 3   A. Well, we were a start-up, so I'm not sure we       3   Q. You report directly to him?
 4     had any paying clients.                             4   A. Yes.
 5   Q. At least in the beginning?                         5   Q. Okay. Are there people who report to you?
 6   A. Perhaps ever.                                      6   A. Yes.
 7   Q. Okay. How long were you at AdPilot?                7   Q. Who were they?
 8   A. For four years. Or at least -- I'm not             8   A. Dan Bailiff is a programmer. He reports to
 9     sure, I'm sorry. It might have been three           9     me.
10     years.                                             10   Q. Now, you've been there, you say, since 2004?
11   Q. Okay. Through sometime in 2003 or 2004?           11   A. Yes.
12   A. Something like that.                              12   Q. What kinds of clients have you worked for,
13   Q. So in that period of time you don't recall        13     in what industries or businesses?
14     if you had any paying clients at all?              14   A. Worked for high-tech companies, Internet
15   A. We had one paying client, but it turned out       15     search engine companies, window-making
16     that we did not have the data we needed to         16     companies, medical device manufacturers.
17     deliver the project, so they ended up not          17     That's all I can recall at the moment, but,
18     paying.                                            18     you know, a variety of industries.
19   Q. Did you then join AMS?                            19   Q. Okay. You were engaged to help Dr. Hauser
20   A. I consulted on my own again for a while.          20     in this case a little over a year ago; is
21   Q. And then what did you do after that?              21     that correct?
22   A. In September of 2004 I was invited to join        22   A. Yes.
23     AMS.                                               23   Q. Prior to that had you ever done any work in
24   Q. And what's your role at AMS?                      24     the cigarette industry?
25   A. My title is senior consultant.                    25   A. No.
                                                Page 23                                                   Page 25
 1   Q. And what do you do in that capacity?               1   Q. Had you ever done any work in any other
 2   A. I work on projects such as this, and I             2     industry where products are sold for
 3     develop -- I'm in charge of developing new          3     personal consumption and enjoyment?
 4     products and services for the company and --        4   A. Yes.
 5     which is sort of a research and development         5   Q. What industries are those?
 6     role, and I help deliver other market               6   A. Consumer packaged goods industry.
 7     research they conduct.                              7   Q. Any -- what kind of packaged goods were
 8   Q. Okay. Now, do you do market research that's        8     they?
 9     not involved in litigation unsupervised?            9   A. Soft drinks, for example. Ocean Spray, a
10           MR. LANDAU: Objection to form.               10     company here, makes a good number of drinks,
11   A. I'm trying to think here. I do run my own         11     as well as cranberry-based foods, did a lot
12     projects, so I guess the short answer is           12     of work for them. I can't remember offhand
13     yes. I hesitated because occasionally I'll         13     the others, but...
14     work with my boss, say, on the project.            14   Q. Have you ever purchased cigarettes?
15   Q. Who is your boss?                                 15   A. No.
16   A. So it varies. Bob Klein, he's the president       16   Q. So you've never gone up to a cash register
17     of AMS. Or I might be doing work for a             17     and asked someone for a pack of something
18     project where I'm not in charge, I'm just          18     lights or a pack of something regulars or
19     doing some interviewing or something.              19     anything of that kind?
20   Q. So you help out others on projects that           20           MR. LANDAU: Objection to form.
21     they're responsible for, and you supervise         21   A. I've never bought cigarettes. I've looked
22     your own project?                                  22     at cigarette displays.
23   A. Right.                                            23   Q. Yes, you've seen displays?
24   Q. Okay. How many are on the staff at AMS?           24   A. Yeah.
25   A. I don't know exactly. Approximately 25.           25   Q. Have you carefully reviewed displays or ads
                                                                                     7 (Pages 22 to 25)
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 1     for any cigarette company at any time?             1   A. No.
 2            MR. LANDAU: Objection to form.              2   Q. Did you participate in the survey for the
 3   A. Do you mean paid by a cigarette company to        3     conjoint analysis that was reported on by
 4     do that?                                           4     Dr. Hauser?
 5   Q. No, whether you were paid or otherwise.           5   A. Yes.
 6   A. I took a look at some cigarette displays for      6   Q. Did you participate in the survey that was
 7     this case.                                         7     conducted in late November and early
 8   Q. Prior to your engagement in this case you         8     December of 2005 that is sometimes called
 9     made no study of cigarette displays; is that       9     the time survey?
10     correct?                                          10   A. Yes.
11   A. That's correct.                                  11   Q. Did you participate in any other surveys on
12   Q. And prior to your engagement in this case        12     the cigarette industry or on cigarettes
13     you made no study of cigarette advertising;       13     working with Dr. Hauser?
14     is that correct?                                  14   A. Yes.
15   A. That's correct.                                  15   Q. What other surveys?
16   Q. And you've never made a study of cigarette       16   A. There was a pilot conjoint analysis study
17     regulation, have you?                             17     conducted in March to April of last year for
18   A. No.                                              18     the Massachusetts case. It was very similar
19            MR. LANDAU: Objection to form.             19     to the health risk conjoint, and that -- I
20   A. You mean professionally?                         20     participated in that. So that's why I
21   Q. Yes.                                             21     answered no earlier.
22   A. No.                                              22   Q. I appreciate it.
23   Q. Have you ever made a study of the regulation     23   A. Yeah.
24     of cigarettes -- cigarette use by states as       24   Q. Apart from those three that you've just
25     it varies across the United States?               25     identified, have you ever reviewed or
                                               Page 27                                                   Page 29
 1   A. No.                                               1     studied surveys or polls that were conducted
 2   Q. Have you ever done a study of cigarette           2     of cigarette usage?
 3     marketing?                                         3   A. No.
 4           MR. LANDAU: Objection to form.               4   Q. Okay. Have you ever studied or reviewed
 5   A. What does that mean?                              5     polls regarding people's beliefs of the
 6   Q. Have you ever done a study of the ways in         6     health risks of smoking?
 7     which cigarette companies communicate with         7   A. No.
 8     the public in addition to printed                  8   Q. Have you ever studied polls regarding
 9     advertisements?                                    9     people's interest in stopping smoking?
10   A. No.                                              10   A. No.
11   Q. Have you ever done a study of polls or           11   Q. Have you ever reviewed any polls regarding
12     surveys regarding cigarettes other than the       12     people's beliefs in the addictive nature of
13     polls and surveys conducted by AMS?               13     smoking?
14   A. I don't understand the question.                 14   A. No.
15   Q. You conducted -- you participated in two         15   Q. Okay. Is it all right with you if for our
16     surveys at AMS --                                 16     purposes we refer to the first study that
17   A. Oh, those surveys, I'm sorry.                    17     you worked on with Dr. Hauser resulting in
18   Q. Yes, yeah.                                       18     the August 2005 opinion as the conjoint
19   A. If you want to reask the question.               19     analysis survey?
20   Q. Yeah, yeah, we'll clarify it --                  20   A. That's fine.
21   A. Okay.                                            21   Q. And if we refer to the second survey
22   Q. -- just for a clean record.                      22     conducted at the end of 2005 as the time
23        You participated in two surveys that           23     survey?
24     were conducted by AMS regarding cigarettes,       24   A. That's all right.
25     correct?                                          25   Q. Okay. Now, neither one involved a randomly
                                                                                     8 (Pages 26 to 29)
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 1     work for an additional law firm that was           1     thought they had merit.
 2     dealing with a Massachusetts case on               2   Q. So in the conjoint study you provided
 3     cigarettes. You'll recall the pilot study I        3     plaintiffs' counsel with copies of the
 4     mentioned.                                         4     questionnaire before it was used with the
 5   Q. Uh-huh.                                           5     final sample?
 6   A. It could be their firm or perhaps both firms      6   A. It's not entirely correct.
 7     were paying, so it represented both.               7   Q. Tell me what about that question is not
 8   Q. But, in fact, you did talk to counsel for         8     correct.
 9     the plaintiffs from time to time in this           9   A. We did not provide them with a copy.
10     case?                                             10   Q. What did you provide them with?
11   A. Yeah. Yes.                                       11   A. We provided them with a URL where they could
12   Q. Okay. Looking at the next page, Hauser 026,      12     take the survey.
13     you forwarded to John Hauser Paul                 13   Q. And they had the opportunity to review the
14     Gallagher's contact information; is that          14     survey before it was administered to the
15     correct?                                          15     sample?
16   A. That's correct.                                  16   A. Yes.
17   Q. Have you spoken with Mr. Gallagher in the        17   Q. And they had the opportunity to comment on
18     past?                                             18     the survey before it was administered to the
19   A. Oh, yes, yes.                                    19     sample?
20   Q. How many times?                                  20   A. Yes.
21   A. A good number of times.                          21   Q. And they, in fact, made comments on the
22   Q. More than five?                                  22     survey before it was administered to the
23   A. Yes.                                             23     sample?
24   Q. More than 10?                                    24   A. I can't recall any specific one, but they
25   A. Yes.                                             25     may well have.
                                               Page 51                                                 Page 53
 1   Q. More than 15?                                     1   Q. Were there comments recorded anyplace?
 2   A. Yes.                                              2   A. I don't recall. I've provided all the notes
 3   Q. More than 20?                                     3     that I've got with -- so...
 4   A. I don't know.                                     4   Q. Apart from Mr. Gallagher, who among
 5   Q. Okay.                                             5     plaintiffs' counsel have you met or spoken
 6   A. We're pushing it there.                           6     with?
 7   Q. Okay. And how long has been the longest of        7   A. Well, I've met these gentlemen (indicating),
 8     your conversations with him?                       8     and I don't -- I don't know if I've met
 9   A. I don't know.                                     9     anyone else. I may have spoken to people on
10   Q. More than a half an hour?                        10     the phone.
11   A. Possibly.                                        11   Q. Have you met these gentlemen before today?
12   Q. What subjects have you discussed with him?       12   A. I've met with Brent before.
13   A. Generally the research we're doing.              13   Q. How many times have you met with Mr. Landau?
14   Q. You've given him updates on the research?        14   A. Once that I recall.
15   A. Yes.                                             15   Q. When was that?
16   Q. Has he made suggestions for things to            16   A. A few months ago to deal with discovery.
17     consider in the research?                         17   Q. Discovery of -- paper discovery?
18   A. Yes.                                             18   A. Discovery of materials for this case.
19   Q. What kind of suggestions?                        19   Q. Now, were plaintiffs' counsel provided with
20            MR. LANDAU: Objection to form.             20     an opportunity to review the survey
21   A. For example, when John was happy with the        21     instrument for the time survey as well
22     latest draft of a questionnaire, for              22     before it was administered to the sample?
23     example, we would let counsel look at it and      23   A. Yes.
24     see if they had any typos or even any other       24   Q. And do you recall whether they had comments
25     suggestions. We would consider them if we         25     on the time survey before it was
                                                                                 14 (Pages 50 to 53)
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 1     administered to the sample?                        1   Q. Okay. So in the time survey you had
 2   A. Yes.                                              2     qualitative interviews, then a pretest, then
 3   Q. And what were their comments?                     3     after comments from plaintiffs' counsel and
 4   A. The one that I remember was that they added       4     amendments to the survey instrument another
 5     a line of questioning that was not                 5     set of pretests?
 6     originally in the survey.                          6   A. No.
 7   Q. What was the line of questioning?                 7   Q. What am I missing?
 8   A. It dealt with whether or not or when people       8   A. We did not do an initial qualitative stage
 9     had learned that the cigarette companies had       9     for the survey, but we did have two rounds
10     misled them -- I don't remember the exact         10     of pretests.
11     wording -- about the health risks of light        11   Q. Why didn't you do an initial qualitative
12     cigarettes.                                       12     stage?
13   Q. Was that question or line of questions added     13   A. We felt it wasn't necessary.
14     to the survey as it was administered to the       14   Q. And why is that?
15     sample?                                           15            MR. LANDAU: Objection to form.
16   A. No.                                              16   A. The qualitative stage is mainly an attempt
17   Q. So the suggestion --                             17     to get terminology, initial terminology, and
18           MR. ALLINDER: Sorry, I didn't               18     we were able to get -- confirm that in your
19     understand the answer.                            19     first pretest, at least for the questions we
20           MR. GROSSMAN: No.                           20     were asking at that time.
21           THE WITNESS: It was no.                     21   Q. Now, did you communicate with counsel on the
22           MR. ALLINDER: Thank you.                    22     conjoint survey upon receipt of the results,
23     BY MR. GROSSMAN:                                  23     learning the results?
24   Q. So the survey was administered -- the time       24   A. How immediately do you mean?
25     survey was administered without the line of       25   Q. How long did it take after you got the
                                               Page 55                                                  Page 57
 1     questions that had been proposed by                1     results before you communicated --
 2     plaintiffs' counsel?                               2   A. I don't know. You know, in a timely manner.
 3   A. No.                                               3   Q. Now, in the time survey did you have more
 4   Q. The survey was administered with the line of      4     than one conversation with plaintiffs'
 5     questions that were proposed by plaintiffs'        5     counsel about the time survey?
 6     counsel?                                           6   A. Yes.
 7   A. Not precisely.                                    7   Q. Did you have more than five?
 8   Q. What happened?                                    8   A. I don't know.
 9   A. Well, we took them and made sure they were        9   Q. But it could be?
10     worded reasonably and such and applied            10   A. It could be.
11     scales to them, made them into proper market      11   Q. Did you have conversations with plaintiffs'
12     research questions.                               12     counsel on the time survey before it was
13   Q. You edited them?                                 13     administered to the panel, apart from the
14   A. John and I edited them.                          14     conversation that you discussed?
15   Q. Together you and John edited them?               15           MR. LANDAU: Objection to form.
16   A. Yes.                                             16   A. You mean, other early conversations?
17   Q. And as edited were those questions               17   Q. Yes, other conversations prior to the
18     pretested?                                        18     administration of the questionnaire to the
19   A. Yes.                                             19     panel.
20   Q. So the proposed changes from plaintiffs'         20   A. Yes.
21     counsel were made -- were offered before the      21   Q. In those conversations did you discuss the
22     pretests of the time survey?                      22     cost of the survey.
23   A. They were made after our initial pretests        23   A. Yes.
24     but before -- then we pretested again when        24   Q. And, in fact, for the time survey you
25     we had these questions.                           25     increased the cost to -- by increasing the
                                                                                  15 (Pages 54 to 57)
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 1     size of the panel that the test would be           1   Q. With an earlier draft.
 2     administered to; is that correct?                  2         Do you know which earlier draft you
 3           MR. LANDAU: Objection to form.               3     provided him?
 4   A. Well, again, "panel" is not the term.             4   A. It's probably similar to the one, that long
 5   Q. Sample?                                           5     report, December 16th, that I'm sure you're
 6   A. Yes.                                              6     familiar with.
 7   Q. Where at first you considered a sample of         7   Q. Yes, I am. And we'll take it out later.
 8     about 600 people, later the sample was             8   A. Yes, I'm sure we will.
 9     expanded to include over a thousand; is that       9   Q. But you did provide that or one like it to
10     correct?                                          10     Paul Gallagher?
11           MR. LANDAU: Objection to form.              11            MR. LANDAU: Objection to form.
12   A. No. To the best of my knowledge, it was          12   A. Well, we provided him a draft at roughly
13     always that sample size.                          13     that time.
14   Q. Okay. Now, after the time survey was             14   Q. Do you know if Ms. Schussheim also
15     conducted and completed by the sample, did        15     communicated with plaintiffs' counsel in
16     you communicate with plaintiffs' counsel as       16     this case?
17     to the results?                                   17   A. Yes.
18   A. Yes.                                             18   Q. Was she with you when you had your
19   Q. When did you first communicate with them as      19     communications with plaintiffs' counsel?
20     to the results?                                   20            MR. LANDAU: Objection to form.
21   A. I can't remember exactly.                        21   A. Generally not.
22   Q. Was it before the first draft of Dr.             22   Q. Did she have, to your knowledge, independent
23     Hauser's opinion on the time survey?              23     conversations with plaintiffs' counsel in
24           MR. LANDAU: Objection to form.              24     this case, independent of you?
25   A. There were many drafts. Probably not before      25   A. Yes.
                                               Page 59                                                  Page 61
 1     the first.                                         1   Q. And was Dr. Hauser with you when you
 2   Q. Did you communicate with them before the          2     communicated with plaintiffs' counsel in
 3     last draft of Dr. Hauser's opinion relating        3     this case?
 4     to the time survey?                                4            MR. LANDAU: Objection to form.
 5   A. Yes.                                              5   A. Not always.
 6   Q. How many times from the first draft until         6   Q. Sometimes but sometimes not?
 7     the last draft of Dr. Hauser's opinion with        7   A. Right.
 8     regard to the time survey did you                  8   Q. And you communicated with plaintiffs'
 9     communicate with plaintiffs' counsel?              9     counsel in this case from sometime in the
10   A. I don't remember precisely. I would say two      10     spring of 2005 through the present; is that
11     or three times.                                   11     correct?
12   Q. Did you provide plaintiffs' counsel with         12   A. Correct.
13     drafts of Dr. Hauser's opinion regarding the      13   Q. Let's turn to the conjoint survey for a
14     time survey?                                      14     moment. There were qualitative interviews
15   A. Prior to when?                                   15     for the conjoint survey?
16   Q. Prior to the final opinion being filed?          16   A. Yes.
17   A. We did provide one for one of the counsel's      17   Q. Dr. Hauser did not conduct any of them; is
18     review, yes.                                      18     that correct?
19   Q. Which counsel was that?                          19   A. That's correct.
20   A. Well, actually, it might have been for more      20   Q. They were conducted only by you and Ms.
21     than one counsel, but we provided it to Paul      21     Schussheim; is that correct?
22     Gallagher.                                        22   A. Yes.
23   Q. You provided Paul Gallagher with the final       23            MR. GROSSMAN: Why don't we take a
24     draft?                                            24     five-minute break, and we'll go on from
25   A. No, an earlier draft.                            25     there.
                                                                                  16 (Pages 58 to 61)
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 1   Q. You've seen these materials before?                1   A. I wrote that.
 2   A. Well, I'm looking at the first page, so it's       2   Q. Okay. It also says, "Your smoking history."
 3     hard to generalize.                                 3         Who wrote that?
 4   Q. You are familiar with the first page?              4   A. I wrote that.
 5   A. Yes, I am.                                         5   Q. Looking at the next page in the upper
 6   Q. I would like to direct your attention, if I        6     left-hand corner it says, "Tell me about the
 7     may, to the first and second page which have        7     cig. you smoke."
 8     numbers 039 and 040 at the bottom.                  8         Do you see that?
 9   A. Right.                                             9   A. Yes, I do.
10   Q. These are both outlines that were used for        10   Q. Who wrote that?
11     qualitative interviews in the conjoint             11   A. Ms. Schussheim wrote that.
12     analysis; is that correct?                         12   Q. Is the other writing on that page Ms.
13   A. Not entirely.                                     13     Schussheim's also -- Schussheim's also?
14   Q. How is it not correct?                            14   A. To the best of my knowledge.
15   A. Just to remind you of the chronology, we did      15   Q. And at the bottom where it says, "Image
16     our exploratory interviews and first pretest       16     (Lite vs. Regular)" above the line, and then
17     prior to fielding the -- what we call the          17     "Pack," "Test," "Safety," "Price" and then a
18     pilot conjoint test for the Massachusetts          18     line and "Brand" under that, is that Ms.
19     lawyers, which is very similar to what             19     Schussheim's writing?
20     you're referring to as the conjoint                20   A. That's my understanding, yes.
21     analysis. So this was exploratory research         21   Q. Okay. Now, looking at 039 which contains
22     for that pilot conjoint.                           22     your writing --
23   Q. This would --                                     23   A. Yes. All right.
24   A. It was also used for the other study, but it      24   Q. -- it's your recollection that you wrote
25     was developed for the first study.                 25     this originally for the pilot study for the
                                                Page 67                                                   Page 69
 1   Q. And then it was used for the qualitative           1     Massachusetts project?
 2     interviews in this conjoint study?                  2   A. Yes.
 3   A. Yes.                                               3   Q. How many respondents were there in the
 4   Q. Who drafted the document that -- on the            4     Massachusetts pilot study?
 5     first page, which is 039?                           5   A. The actual conjoint analysis?
 6   A. I drafted it.                                      6   Q. Yes.
 7   Q. And who drafted the second page, which is          7   A. 199, I believe.
 8     040?                                                8   Q. Now, what review of literature did you do,
 9   A. Well, they're both the same page in terms of       9     if any, in constructing this outline of
10     word processing. Are you referring to that         10     light cigarette questions?
11     or to the writing on it?                           11   A. I believe we've gone over that.
12   Q. Well, they are not identical.                     12   Q. Yeah. The answer is none; is that correct?
13   A. Oh, really?                                       13           MR. LANDAU: Objection to form.
14   Q. Yeah.                                             14   A. Again, which literature do you mean?
15   A. Okay. Oh. Well --                                 15   Q. Any public literature.
16   Q. Is one a later draft?                             16   A. Essentially, yes.
17   A. Probably. Oh, wait, I'm speculating. I            17   Q. Essentially none, correct?
18     would say yes, one is later.                       18   A. Correct.
19   Q. And do you know which one is later?               19   Q. Did you ever review the websites of R.J.
20   A. No, I don't.                                      20     Reynolds, Brown & Williamson, Philip Morris
21   Q. Okay. Looking on 039, there it -- in the          21     or Lorillard?
22     upper left-hand corner it says "Introduce          22   A. Yes.
23     me" and "AMS." Do you see that?                    23   Q. When did you do that?
24   A. Yes, I do.                                        24   A. Prior -- I think prior to this research.
25   Q. Who wrote that?                                   25   Q. What were you looking for?
                                                                                   18 (Pages 66 to 69)
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                                                Page 70                                                   Page 72
 1   A. Looking for what they had to say about light       1   A. I think there were some, but I can't recall
 2     cigarettes.                                         2     exactly.
 3   Q. As to the health effects of light                  3   Q. Can you recall any of them?
 4     cigarettes?                                         4   A. I think that would be speculation.
 5   A. Yes. More generally, but yes.                      5   Q. Did you do any study or review any
 6   Q. Did you look for anything else on the              6     literature on cross-elasticity of demand
 7     websites of these companies?                        7     among different cigarette brands and
 8   A. I can't recall specifically what I looked          8     types --
 9     for.                                                9            MR. LANDAU: Objection to form.
10   Q. Now, at what point in the process for the         10   Q. -- in constructing your hypothetical or the
11     conjoint analysis did you develop a                11     final questionnaire?
12     tentative list of attributes to be studied         12            MR. LANDAU: Objection to form.
13     in the conjoint analysis?                          13   A. No.
14           MR. LANDAU: Objection to form.               14   Q. Now, as a person who has conducted and
15   A. I'm not sure.                                     15     designed conjoint analyses -- let me go
16   Q. Just for clarification, four attributes were      16     back.
17     studied in the conjoint analysis; is that          17         You have, in fact, designed conjoint
18     correct?                                           18     analyses; is that correct?
19   A. Yes.                                              19   A. Yes.
20   Q. And those were pack versus -- hard pack box       20   Q. And you've also conducted them; is that
21     versus soft pack, price, taste and risk; is        21     correct?
22     that correct?                                      22   A. Yes.
23   A. Basically.                                        23   Q. As one who has both conducted and designed
24   Q. Do you recall whether you tentatively set         24     conjoint analyses, you would agree, wouldn't
25     those attributes as the attributes that            25     you, that it's important to test for the
                                                Page 71                                                   Page 73
 1     would be measured before conducting the             1     right attributes?
 2     qualitative interviews for the conjoint             2           MR. LANDAU: Objection to form.
 3     analysis?                                           3   A. I would agree.
 4   A. What do you mean by "set"?                         4   Q. If you don't test for the right attributes,
 5   Q. Did you go into the qualitative interviews         5     there is a possibility that the results will
 6     with a hypothesis that those four attributes        6     be skewed by unmeasured attributes; is that
 7     would be the attributes measured?                   7     correct?
 8   A. I don't recall.                                    8           MR. LANDAU: Objection to form.
 9   Q. You may have, but you don't recall?                9   A. Possible.
10   A. We had a hypothesis. I don't recall exactly       10   Q. And that's called confounding; is that
11     what it was. It was something similar.             11     correct?
12   Q. What was -- as a matter of scientific             12   A. That's one word for it.
13     method, you entered the qualitative                13   Q. And if the results are skewed by unmeasured
14     interviews with a hypothesis; is that              14     attributes, no adjustment can be made after
15     correct?                                           15     the study to account for them; is that
16   A. Again, it was a long time ago, so I don't         16     correct?
17     really recall.                                     17           MR. LANDAU: Objection to form.
18   Q. Do you recall any aspects of the                  18   A. I don't know that that's true. It's
19     hypothetical that you had as you entered           19     difficult.
20     into the qualitative interviews?                   20   Q. If they're not measured, there is no way to
21   A. I think that we had a list of possible            21     know the extent to which those unmeasured
22     attributes.                                        22     attributes affect respondents' answers with
23   Q. Do you recall whether there were any items        23     regard to the measured attributes; is that
24     on the list other than price, taste, health        24     correct?
25     risk or pack type?                                 25           MR. LANDAU: Objection to form.
                                                                                   19 (Pages 70 to 73)
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                                              Page 78                                                   Page 80
 1     of light smokers as a whole; is that              1     "light"; is that correct?
 2     correct?                                          2           MR. LANDAU: Objection to form.
 3   A. That's correct.                                  3   A. I'm afraid I paused on "you do not know" and
 4   Q. Now, the questioning that you did of the         4     was waiting for the structure. If you'll
 5     people in the qualitative interviews was not      5     just repeat it once more, I'll give it a
 6     the primary basis upon which he generated         6     try.
 7     hypotheses; is that correct?                      7   Q. Okay. You finished the conjoint analysis?
 8            MR. LANDAU: Objection to form.             8   A. Yes.
 9   A. What do you mean by that question? I don't       9   Q. And having completed that conjoint analysis,
10     understand.                                      10     you don't know what the second choice of any
11   Q. Based upon the qualitative interviews that      11     particular smoker would be; is that correct?
12     you conducted, did you expand or contract a      12           MR. LANDAU: Objection to form.
13     list of attributes to be measured in the         13   A. Well, you haven't said second choice in the
14     conjoint analysis?                               14     event of what.
15   A. I don't recall the exact process, but I do      15   Q. If his cigarette were not available.
16     recall that we decided not to have brand as      16   A. That's true. That's correct.
17     one of the attributes. We decided to deal        17   Q. So, for example, you don't know if a
18     within a person's brand because of all the       18     Marlboro Light smoker in the absence of this
19     cross-elasticity problems and such you           19     cigarette would choose a different Marlboro
20     mentioned, among other things.                   20     product or a different lights product?
21   Q. Now, you decided to deal within a person's      21   A. That's correct.
22     brand after the qualitative interviews?          22   Q. And that's because your conjoint analysis
23   A. I don't remember exactly when.                  23     was not designed to answer that question; is
24   Q. You mentioned cross-elasticity problems. Is     24     that correct?
25     it your understanding -- you have not            25           MR. LANDAU: Objection to form.
                                              Page 79                                                   Page 81
 1     studied cross-elasticity in the cigarette         1   A. Perhaps. Ask it once more.
 2     industry, correct?                                2   Q. Your conjoint analysis was not designed to
 3   A. Correct.                                         3     answer the question what a smoker's
 4   Q. And you didn't know before the conjoint          4     cigarette choice would be; is that correct?
 5     analysis and you don't know after the             5            MR. LANDAU: Same objection.
 6     conjoint analysis what the cross-elasticity       6   Q. Isn't that correct?
 7     demand is among brands in the cigarette           7   A. It wasn't a double negative problem. I'm
 8     industry; is that correct?                        8     sorry. Try again.
 9   A. That's correct.                                  9   Q. Conjoint analysis was not designed to
10   Q. And the conjoint analysis could not tell you    10     determine what brand a smoker would choose
11     whether in the absence of the word "light"       11     if his brand were not available?
12     Marlboro Light smokers would choose the same     12   A. That's correct.
13     cigarette or a different Marlboro or a           13   Q. This conjoint analysis was not designed to
14     different cigarette entirely marked "light";     14     determine the historic reason why the smoker
15     is that correct?                                 15     chose the brand that he uses; is that
16           MR. LANDAU: Objection to form.             16     correct?
17   A. I think you double-negatived yourself there.    17            MR. LANDAU: Objection to form.
18   Q. Okay. I'll rephrase the question.               18   A. That's correct.
19   A. Okay.                                           19   Q. The conjoint analysis was not designed to
20   Q. Now that you have completed the conjoint        20     determine the information that was available
21     analysis --                                      21     to the smoker when he chose his light brand
22   A. Yes.                                            22     of cigarettes; is that correct?
23   Q. -- you do not know whether smokers of           23            MR. LANDAU: Objection to form.
24     Marlboro Light would have purchased the same     24   A. Correct. I just want to point out here that
25     cigarettes had they not contained the word       25     I'm not the expert on this case, so these
                                                                                 21 (Pages 78 to 81)
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                                               Page 82                                                   Page 84
 1      may be questions that are really not my area      1             MR. LANDAU: Objection to form.
 2      of expertise.                                     2   A. If you will, please give that another try.
 3    Q. I understand, but --                             3     I'll try to listen to it harder. I think I
 4    A. Okay.                                            4     can answer that. You don't even have to
 5    Q. -- to your understanding.                        5     change it, just repeat it.
 6    A. All right. If we go on that basis --             6             MR. GROSSMAN: Why don't you repeat
 7    Q. Yes.                                             7     the question.
 8    A. -- for these.                                    8          (Record read.)
 9    Q. To your understanding.                           9             MR. LANDAU: Same objection.
10    A. To my understanding. Here, ask the question     10   A. I don't understand that question, or I don't
11      again. I'm afraid I've forgotten.                11     believe it's asked correctly.
12    Q. To your understanding, the conjoint analysis    12   Q. Okay. Have you -- in the qualitative
13      was not designed to determine the reason why     13     interviews and pretests did you make any
14      smokers chose the light cigarettes that they     14     attempt to determine whether the lights
15      chose?                                           15     market was homogeneous as to the reasons
16            MR. LANDAU: Objection to form.             16     smokers chose their particular brands?
17    A. I'm not trying to be obstinate, but that's      17   A. Did you say in the qualitative or pretests?
18      not a complete question.                         18   Q. Both. In either of them.
19    Q. Let me just continue on to the next area.       19             MR. LANDAU: Objection to form.
20    A. Okay. Sure.                                     20   A. No, because it would be impossible to make
21    Q. Now, you know from your earlier work -- you     21     an authoritative determination on such a
22      know vaguely from your earlier work at           22     small sample size.
23      Management Decisions that --                     23   Q. Did you make any effort to determine whether
24    A. Management Decision Systems.                    24     the market for light cigarettes was
25    Q. -- Management Decision Systems that the         25     homogeneous on the basis of the conjoint
                                               Page 83                                                   Page 85
 1      cigarette market is highly fractionalized         1     survey as it was administered to the sample
 2      and that there are many, many brands              2     of just over 600 people?
 3      available to consumers?                           3           MR. LANDAU: Objection to form.
 4             MR. LANDAU: Objection to form.             4   A. You're getting better. Yes.
 5    A. Yes.                                             5   Q. You made such an effort?
 6    Q. And the sample in the conjoint analysis was      6   A. We made a small effort in that we looked at
 7      630-odd people; is that correct?                  7     the partworths of -- average partworths for
 8    A. It's close, yes.                                 8     groups where we broke out the groups by the
 9    Q. And you understand that many of the brands       9     brand that they -- of light cigarette that
10      involved in this case have market shares         10     they used most often.
11      well below 1 percent?                            11   Q. When you said you made a partial effort --
12             MR. LANDAU: Objection to form.            12   A. Well, I mean --
13    A. That's my understanding.                        13   Q. -- did you make an effort for each brand?
14    Q. The sample surveyed was not large enough to     14   A. What you do is you know each brand each
15      draw meaningful results as to any of those       15     person primarily smokes, and so that enables
16      brands by themselves; is that correct?           16     you to divide them into groups based on that
17             MR. LANDAU: Objection to form.            17     brand, and then you can look at the average
18    A. No.                                             18     partworths for the levels of the attributes
19    Q. Well, in constructing the questionnaire and     19     for each group. And that lets you determine
20      designing the survey --                          20     if they are statistically different.
21    A. Uh-huh.                                         21   Q. Was there a statistical difference between
22    Q. -- did you make any allowance or attempt to     22     smokers of Kool cigarettes, Kool Light
23      determine on a brand-by-brand basis how          23     cigarettes and other brands?
24      respondents would answer the conjoint            24           MR. LANDAU: Objection to form.
25      analysis questions?                              25   A. A, I don't recall, and, B, as you've noted
                                                                                   22 (Pages 82 to 85)
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                                              Page 114                                                 Page 116
 1      smokers, which includes smokers of all            1     correct?
 2      types.                                            2   A. Is that different from race?
 3    Q. Okay. Let me rephrase --                         3   Q. Yes, like Hispanic.
 4    A. We don't have that.                              4   A. Okay. We didn't do that.
 5    Q. Let me rephrase the question.                    5   Q. And you set up no quota by education; is
 6          If the market for light cigarettes            6     that right?
 7      were homogeneous --                               7   A. I believe that's correct.
 8    A. Uh-huh.                                          8   Q. Have you done any study at any time to
 9    Q. -- then the responses of Newport Light           9     determine whether education is a substantial
10      smokers and Marlboro Light smokers in your       10     driver in whether individuals smoke light
11      conjoint survey would be substantially           11     cigarettes or cigarettes at all?
12      identical; is that correct?                      12            MR. LANDAU: Objection to form.
13             MR. LANDAU: Objection to form.            13   A. No, I still must say you don't understand
14    A. If groups are homogeneous with the variables    14     how the sample was drawn in this study.
15      of interest, they tend to answer about the       15     You're not telling me -- you don't seem to
16      same, that's true, but --                        16     have a clear picture of it.
17    Q. But if Marlboro Light smokers have a            17   Q. Did you ever make any attempt in analyzing
18      different view of the taste of Marlboro          18     the numbers that came back from the conjoint
19      Lights in relation to Marlboro regulars than     19     survey whether menthol smokers differed in
20      Newport Light smokers do with regard to the      20     the way they responded to questions from
21      taste of Newport Light versus Newport            21     smokers of non-mentholated cigarettes?
22      regulars, there are differences not              22   A. Again, your question assumes there are
23      accounted for in the homogenized answers to      23     regular and light menthol smokers in the
24      the conjoint analysis?                           24     sample, it seems, since you just --
25             MR. LANDAU: Objection --                  25   Q. No. No, no, no.
                                              Page 115                                                 Page 117
 1    A. You speak of my --                               1   A. -- say smokers.
 2            MR. LANDAU: Objection to form.              2   Q. I'm sorry. The sample was only of light
 3    A. -- example as if it were milk, and that's        3     smokers, correct?
 4      not correct.                                      4   A. That's correct.
 5    Q. The sample was intended to be of light           5   Q. Okay. Did you ever make any effort to
 6      smokers, correct?                                 6     determine whether the smokers of mentholated
 7    A. Yes. What happened -- you haven't really         7     light cigarettes responded to the questions
 8      plumbed how we do that or did that, but the       8     the same as the smokers of non-mentholated
 9      completed surveys were of light cigarette         9     light cigarettes?
10      smokers.                                         10           MR. LANDAU: Objection to form.
11    Q. And the completed survey was intended to be     11   A. I object to the form also, but I'll tell you
12      representative of the public by sex, by          12     why. We didn't look at mentholated versus
13      region of the country and by income as           13     non-mentholated --
14      divided into three groups, correct?              14   Q. Okay.
15            MR. LANDAU: Objection to form.             15   A. -- just to move things along.
16    A. That's not correct.                             16   Q. Now, when you conducted the qualitative
17    Q. You set up quotas?                              17     interviews, most smokers who you interviewed
18    A. That's correct.                                 18     told you they preferred the taste of light
19    Q. You set up no quota by brand; is that           19     cigarettes; isn't that right?
20      correct?                                         20           MR. LANDAU: Objection to form.
21    A. That's correct.                                 21   A. I would say that's true.
22    Q. You set up no quota by race; is that            22   Q. In fact, if they told you that all things
23      correct?                                         23     were equal, if they viewed both cigarettes
24    A. That's correct.                                 24     as equally risky, they would have smoked
25    Q. You set up no quota by ethnicity; is that       25     lights anyway?
                                                                               30 (Pages 114 to 117)
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                                                 Page 118                                                  Page 120
 1            MR. LANDAU: Objection to form.                 1   Q. On Page 050 you'll see in the lower
 2    A. I think that's stating it too strongly, for         2     left-hand corner --
 3      two reasons: One is you're making a very             3   A. Yeah.
 4      general statement compared to the exact              4   Q. -- which is the interview of someone named
 5      conclusions one could draw from an                   5     Heinz. At the top of 050 --
 6      experiment; B, I'm not the expert; but C --          6   A. Uh-huh.
 7      now I can't remember C, but there was                7   Q. -- you wrote, "So ceteris paribus, he'd
 8      something else.                                      8     smoke lites instead of regulars due to
 9    Q. Well, why don't we take out --                      9     taste. Nicotine is the same."
10    A. Oh, C -- I'm sorry. C was I don't quite            10   A. Yes, I wrote that.
11      remember what the partworth values were,            11   Q. Do you recall whether those words are your
12      which you're probably about to show me.             12     impression of what he said or a quote of
13    Q. No, I'm talking about the qualitative              13     what he said?
14      interviews.                                         14   A. Well, given the pretentious Latin usage,
15    A. Oh, the qualitative interviews?                    15     it's likely my paraphrase of what he said.
16    Q. Yes.                                               16   Q. But, in fact, it was your understanding that
17    A. Oh, I'm sorry, I misunderstood.                    17     if lights and regulars were equally risky,
18    Q. Yeah. And you conducted the qualitative            18     he would smoke lights anyway because he
19      interviews, so you were the one who spoke           19     preferred the taste?
20      with the people?                                    20   A. Yes. I would like to point out once more
21    A. Well, actually, that's not entirely correct        21     that this is not a counting exercise on the
22      since Ms. Schussheim conducted some of the          22     qualitatives.
23      qualitative interviews.                             23   Q. Yes, I understand that.
24    Q. Yeah, you conducted seven?                         24   A. Okay.
25    A. Right.                                             25   Q. Could you look at -- two pages later at
                                                 Page 119                                                  Page 121
 1    Q. And in those qualitative interviews the             1     Hauser 052.
 2      people interviewed told you to a large               2   A. Uh-huh.
 3      extent that all things being equal regarding         3   Q. Jennifer who you interviewed similarly said
 4      health, they still would have smoked lights          4     at the very bottom of the page, "if lites
 5      because they preferred the taste?                    5     are as unhealthy as regulars, she wants the
 6            MR. LANDAU: Objection to form.                 6     lite - taste, feel are better 'lighter.'"
 7    A. I think there was a general -- these were           7   A. Yes, I wrote that.
 8      light smokers --                                     8   Q. Okay. If you look at Page 045, "Bottom
 9    Q. Yes.                                                9     line" -- literally and figuratively the
10    A. -- and they -- I think they generally              10     bottom line in discussing Chris you wrote,
11      preferred the taste of light cigarettes.            11     "Bottom line: regular cigarettes are
12    Q. In fact, one told you in Latin "ceteris            12     harsh"?
13      paribus"?                                           13   A. Yes, I did.
14    A. That was probably me at work.                      14   Q. He didn't like the taste of regular
15    Q. Okay. But you said, "Ceteris paribus, he           15     cigarettes, correct?
16      would smoke lite cigarettes"?                       16   A. Well, he said they're harsh.
17            MR. LANDAU: Objection to form.                17   Q. Yes, okay.
18    A. Can we look at the exact --                        18            MR. GROSSMAN: Let's see. It's a
19    Q. Yes.                                               19     quarter after 12:00. Why don't we turn off
20    A. -- quote?                                          20     the tape.
21    Q. Yes.                                               21            THE VIDEOGRAPHER: The time is
22    A. I'm not disputing it.                              22     12:13. This is the end of Cassette No. 2.
23    Q. Yes, could you look at Exhibit No. 2,              23     We're off the record.
24      please.                                             24         (Lunch recess taken.)
25    A. Exhibit No. 2, okay, yeah.                         25

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                                             Page 126                                                 Page 128
 1      traditional conjoint/choice models."             1         Do you see that?
 2         When did you write that?                      2   A. Yes, I do.
 3    A. Sometime last year, I think.                    3   Q. Was the full set of attributes and levels
 4    Q. Before or after the conjoint study in this      4     used in the conjoint analysis on cigarettes
 5      case?                                            5     that you conducted?
 6    A. I don't remember.                               6           MR. LANDAU: Objection to form.
 7    Q. In the next paragraph it says, "Consumers       7   A. Are you asking me this as an expert in the
 8      generally develop their consideration set by     8     case or --
 9      reviewing a list of features and finding all     9   Q. No. Is it your understanding that you chose
10      the products with their 'must have' features    10     to work with a full set of attributes and
11      and without features that are grounds for       11     levels in this case?
12      elimination, such as, an unacceptable brand     12           MR. LANDAU: Objection to form.
13      or an unaffordable price. This is a             13   A. Well, we did not follow this particular
14      non-compensatory process, because no amount     14     process. We did work with -- we did not
15      of good performance on other features can       15     whittle down the set of attributes for each
16      make up for the lack of a 'must have'           16     respondent as this describes.
17      feature."                                       17   Q. Okay. So in this case you used the
18         Do you know if any appreciable number        18     traditional conjoint analysis rather than
19      of consumers of light cigarettes view some      19     the new model that you referred to in this;
20      brands as unacceptable?                         20     is that correct?
21            MR. LANDAU: Objection to form.            21   A. Essentially, yes.
22    A. Our study did not deal with brands, so I do    22           MR. GROSSMAN: Let me mark what we
23      not.                                            23     will as Exhibit No. 7, and that's an
24    Q. Okay. The next sentence here is                24     opinion.
25      "Traditional choice and conjoint models, on     25
                                             Page 127                                                 Page 129
 1   the other hand, assume a compensatory               1           (Exhibit No. 7, Expert Witness
 2   process, in which a product can be chosen           2     Report of Dr. John R. Hauser, marked for
 3   even if it does poorly on some features, as         3     identification.)
 4   long as it does well on others. This                4   Q. Mr. Gaskin, I'm handing you what's been
 5   generally works for trade-offs within the           5     marked for identification purposes as Gaskin
 6   consideration set, but not for the formation        6     Exhibit No. 7, which is a copy of Dr.
 7   of the consideration set itself."                   7     Hauser's opinion of August 22, 2005 on the
 8       Do you agree with that?                         8     conjoint analysis. Did you participate in
 9 A. Depends on the category, but it's often the        9     any way in drafting this report?
10   case.                                              10   A. Yes, under Dr. Hauser's direction.
11 Q. Now, it continues. "With our process,             11   Q. Who wrote the first draft?
12   respondents are presented with an array of         12           MR. LANDAU: Objection to form.
13   product alternatives generated from the full       13   A. Well, again, it's not an all or nothing
14   set of attributes for the product category.        14     thing, but I would attempt to write a draft
15   Respondents select the alternatives they           15     under John's direction.
16   would seriously consider buying. A quick           16   Q. And then he edits it?
17   mathematical test is done to check whether         17   A. He'll add content, edit it, delete. It's up
18   each respondent used a non-compensatory or         18     to him.
19   compensatory method for deriving his or her        19   Q. And in this particular case of the conjoint
20   consideration set. In initial testing, it          20     analysis report, you made the first effort
21   appears that only a small minority will use        21     to commit this to paper?
22   a compensatory method, and for those               22   A. Actually, it's a little more complicated
23   respondents, we perform a choice-based             23     than that.
24   conjoint analysis using the full set of            24   Q. Okay. What was the process?
25   attributes and levels."                            25   A. We had done a similar analysis for another
                                                                              33 (Pages 126 to 129)
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                                               Page 150                                                 Page 152
 1      affecting their taste or change the taste of       1        (Mr. Allinder entered deposition
 2      cigarettes without affecting their risk?           2     room.)
 3            MR. LANDAU: Objection to form.               3   Q. Did anyone else work with you on the time
 4    A. I don't recall. I do recall they said they        4     survey?
 5      could do our study reasonably.                     5   A. Some of -- a number of pretests were
 6    Q. You recall that they said they could suspend      6     conducted -- a few of the pretests were
 7      their disbelief if they, in fact,                  7     conducted by a woman at AMS.
 8      disbelieved that hypothetical?                     8   Q. What's her name?
 9    A. We asked --                                       9   A. Derby Swanson.
10            MR. LANDAU: Objection to form.              10   Q. Did you work on the pretest as well?
11    A. We asked -- well, I don't remember the exact     11   A. Yes.
12      quote, but we did ask them to, for the            12   Q. Did Dr. Hauser participate in any of the
13      purposes of the study, to assume that it          13     interviews, pretests on the time survey?
14      could happen.                                     14        (Mr. Falcone entered deposition room.)
15    Q. And in your qualitative interviews in which      15   A. No, he did not.
16      you asked wide-ranging questions about risk,      16   Q. Now, in the conjoint survey did Dr. Hauser
17      as well as in the pretesting interviews, no       17     give you the go-ahead to begin pretesting of
18      one, to your recollection, said that he had       18     the questionnaire?
19      believed prior to the survey that                 19   A. Yes.
20      manufacturers could change the risks of           20   Q. In order to give you the go-ahead on the
21      cigarettes without affecting taste; is that       21     pretesting of the questionnaire, what is
22      correct?                                          22     your understanding of what Dr. Hauser had to
23            MR. LANDAU: Objection to form.              23     be satisfied of?
24    A. I don't recall anyone saying that.               24           MR. LANDAU: Objection to form.
25    Q. Okay. What was Dr. Hauser's role, if any,        25   Q. Let me rephrase the question.
                                               Page 151                                                 Page 153
 1      in drafting the language that was used in          1   A. Okay.
 2      the questionnaire for the conjoint survey?         2   Q. How far along in the process do you have to
 3    A. Well, as I said, I wrote it at his                3     be before you can begin pretesting?
 4      direction, so he had a substantial amount of       4           MR. LANDAU: Objection to form.
 5      involvement in terms of feedback, quality          5   A. Generally reasonably far.
 6      control, final say.                                6   Q. In order to begin pretesting, you have to
 7    Q. Did he personally write any part of it?           7     have developed the basic format and wording
 8    A. I don't recall.                                   8     of the questionnaire; is that correct?
 9             MR. LANDAU: Objection to form.              9   A. Yes.
10    Q. Did he personally write any part of the time     10   Q. Because pretesting is a means of fine-tuning
11      survey?                                           11     the language of the questionnaire; is that
12             MR. LANDAU: Objection to form.             12     correct?
13    A. I don't recall.                                  13           MR. LANDAU: Objection to form.
14    Q. Did you write under his guidance or              14   A. Basically. Sometimes you might find you're
15      otherwise the first draft of the time             15     missing a question, but generally you're
16      survey?                                           16     tuning the language.
17    A. I worked on it with him. I don't recall          17   Q. And so in approving pretests for the
18      that I wrote it like Athena or Venus rising       18     conjoint questionnaire, Dr. Hauser was, to
19      out of the sea for him.                           19     your understanding, agreeing that the study
20    Q. Athena rising out of Zeus's head?                20     design was appropriate to the circumstance?
21    A. Correct. Thank you.                              21           MR. LANDAU: Objection to form.
22    Q. Did Ms. Schussheim work with you on the time     22   A. What do you mean by "the study design"?
23      survey as well?                                   23   Q. Well, at the time that pretesting began on
24    A. No, she did not.                                 24     the conjoint study --
25                                                        25   A. Right.
                                                                                39 (Pages 150 to 153)
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                                                Page 162                                                  Page 164
 1    Q. In your qualitative research were 14               1   A. Okay. In the notes I had copied -- you
 2      interviews, correct?                                2     know, maybe I'm wrong. In the notes I had
 3    A. Yes.                                               3     copied I believe I saw the other day a copy
 4    Q. And there are 41 brands in this case,              4     of either a printout of it, of the screens
 5      correct?                                            5     or a Word version of it that I thought was
 6            MR. LANDAU: Objection.                        6     an earlier draft.
 7    A. That's correct.                                    7   Q. Okay.
 8    Q. And so --                                          8   A. There were also notes on the pretest that
 9    A. Well, at least -- we had 41 brand                  9     had comments on the questions and such.
10      differentiations of some sort, yes.                10   Q. Yes. We have the notes on the pretest --
11    Q. Yeah, 41 -- you did not interview even one        11   A. Yeah.
12      person for most of the brands that are             12   Q. -- but I don't know of anything else.
13      involved in this case; is that correct?            13   A. Okay.
14    A. That's correct.                                   14   Q. Again, in the pretest Dr. Hauser did not
15    Q. And, in fact, you had multiple respondents        15     participate in any interviews on the
16      who smoked Marlboro Lights and Parliament          16     pretest; is that correct?
17      Lights in your interviews; is that correct?        17   A. That's correct.
18    A. I believe so.                                     18   Q. Now, perhaps you could clarify it for me
19    Q. Did you ever question why there were so many      19     quickly. If you look at Exhibit No. 2 --
20      Parliament Light smokers among the people          20     oh, I think this might be separate. They
21      who you interviewed, considering the               21     might be included in that.
22      minuscule share of the national market that        22         Following the pretests there were
23      Parliament Light has?                              23     additional qualitative interviews conducted;
24            MR. LANDAU: Objection to form.               24     is that correct?
25    A. I don't recall.                                   25   A. Huh?
                                                Page 163                                                  Page 165
 1    Q. So the decision to lump smokers of all 41          1   Q. Well, the pretests were conducted on March
 2      brands together for purposes of the conjoint        2     23rd, 2005, approximately?
 3      survey was an a priori decision; is that            3   A. That's correct.
 4      correct?                                            4   Q. Did they continue into later days?
 5             MR. LANDAU: Objection.                       5   A. I seem to remember March 29th, but which
 6    A. Could you define the term "lump"?                  6     later ones are you referring to?
 7    Q. The decision to conduct the single survey          7   Q. I've got March 23, March 29, March 25.
 8      that would be attributed to all 41 brands           8   A. Okay.
 9      regardless of the number of smokers per             9   Q. I believe that there were interviews
10      brand included in the survey was an a priori       10     conducted in May, on May 18th.
11      decision; is that correct?                         11   A. That's correct.
12             MR. LANDAU: Objection to form.              12   Q. What were those interviews?
13    A. That's correct, for good reason, so...            13   A. These were interviews for a survey that was
14    Q. But it was an a priori decision?                  14     not conducted.
15    A. Yes.                                              15   Q. What was the survey that was not conducted?
16    Q. Did you maintain any drafts of the                16   A. The Massachusetts lawyers, if I may term
17      questionnaire that was used in the pre --          17     them as such --
18      the questionnaire or questionnaires that           18   Q. Yes.
19      were used in the pretests before the               19   A. -- without fear of reprisal asked if we
20      conjoint analysis survey?                          20     could do a version of the pilot conjoint we
21    A. Yes.                                              21     had done that talked about health risk that
22    Q. Where are they?                                   22     instead referred to tar and nicotine levels
23    A. I produced them.                                  23     instead of health risk.
24    Q. To my knowledge, we have only the final           24   Q. I see.
25      draft.                                             25   A. So we did some pretest with that wording
                                                                                  42 (Pages 162 to 165)
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                                                  Page 166                                                 Page 168
 1      changed, and then for whatever reason they            1   A. (No verbal response.)
 2      did not do a survey.                                  2   Q. Okay. Um, could you --
 3    Q. Okay. I would like to direct your                    3            THE WITNESS: While you're saying
 4      attention, if I may, to the pretest                   4     um, I'm an old person, so I need another
 5      interviews. Let's see, 065...                         5     break.
 6    A. That's Exhibit 2?                                    6            MR. GROSSMAN: Okay.
 7    Q. Well, I think --                                     7            THE WITNESS: I'll be right back.
 8    A. Oh, that's another one.                              8            MR. GROSSMAN: Let's stop the tape.
 9          (Discussion off the record.)                      9            THE VIDEOGRAPHER: The time is
10    Q. Well, could I see your Exhibit 2, please?           10     2:17. We're off the record.
11    A. Sure. (Hands document to Mr. Grossman.)             11         (Recess taken.)
12    Q. 062, it will be in here, okay. Mine has             12            THE VIDEOGRAPHER: The time is
13      been separated.                                      13     2:20. We are back on the record.
14          Looking at Exhibit 2, Page 062 --                14     BY MR. GROSSMAN:
15    A. Right.                                              15   Q. Okay. Mr. Gaskin --
16    Q. -- I'm sorry, 065 --                                16   A. Thank you.
17    A. Ah.                                                 17   Q. -- all set? Could you direct your
18    Q. -- there's an interview from the pretest of         18     attention, please, to -- in Exhibit No. 2 to
19      March 25, 2005 of Stacey. Do you see at the          19     the Page 073 in the lower right-hand corner.
20      bottom it says, "She got a bit scared by             20   A. Right.
21      health risk is greater than regular                  21   Q. And those are your notes of Melissa No. 6?
22      cigarettes. 20 percent and 50 percent -              22   A. Right.
23      that sounds fine. A buck is serious money.           23         (Mr. Garnick entered deposition room.)
24      50 percent is crazy - as long as the health          24   Q. You wrote, "Likes ultra lights best! But is
25      risk is greater, even though she knows it's          25     a Parliament smoker, and they don't appear
                                                  Page 167                                                 Page 169
 1      the same."                                            1     to have ultra lights. It wasn't bad."
 2          What is she saying there?                         2         Do you see that?
 3    A. I'm not --                                           3   A. Yes, I do.
 4             MR. LANDAU: Objection to form.                 4   Q. For some smokers the importance of brand or
 5    A. -- sure.                                             5     brand image trumps all other factors; is
 6    Q. There was no option on the survey for the            6     that correct?
 7      conjoint analysis in the conjoint analysis            7            MR. LANDAU: Objection to form.
 8      section for respondents to write no                   8   A. I'm not an expert, so --
 9      preference; is that correct?                          9   Q. In the case of Melissa who preferred the
10    A. You mean, with any set of choice --                 10     taste of ultra lights, purchasing Parliament
11    Q. Yes.                                                11     was more important than purchasing the class
12    A. -- alternatives?                                    12     of cigarettes that she preferred the taste
13    Q. Yes.                                                13     of; is that correct?
14    A. That's correct.                                     14            MR. LANDAU: Objection to form.
15    Q. Whose decision was it not to include a no           15   A. I'm not sure why I said "they don't appear
16      preference option?                                   16     to have" -- well, I think that -- yeah, I'm
17             MR. LANDAU: Objection to form.                17     not quite sure what she was saying, but it
18    A. I think that "no preference" isn't quite the        18     appears that she was saying that she's a
19      right term.                                          19     Parliament smoker. I don't know if they
20    Q. What's the right term?                              20     have an ultra light or not, in fact.
21    A. I think it's -- you choose none of those,           21   Q. But she reported to you that she smoked
22      and I -- again, I'm not speaking as an               22     Parliament Lights; otherwise, she wouldn't
23      expert, but the decision would have been             23     be included in the pretest, correct?
24      John's.                                              24   A. That's true.
25    Q. Not yours?                                          25   Q. And having reported that she smoked
                                                                                   43 (Pages 166 to 169)
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                                               Page 170                                                 Page 172
 1      Parliament Lights, she also reported that          1         "If he had to switch, he'd smoke
 2      she preferred the taste of ultra lights, but       2     another 100 - would look around."
 3      at least that she found it difficult to find       3         Do you see that?
 4      Parliament Ultra Lights --                         4   A. Yes, I see that.
 5             MR. LANDAU: Objection to form.              5   Q. For some smokers, as reported to you, the
 6    Q. -- if they were available at all?                 6     length of the cigarette was important in
 7             MR. LANDAU: Objection.                      7     their choice?
 8    A. That's a bit of speculation on my part to         8            MR. LANDAU: Objection to form.
 9      agree. It's conceivable, but, again, you           9   A. For Bert here it appears he wants to smoke a
10      know...                                           10     100, and that's the length of the cigarette.
11    Q. You found evidence in the interviews you         11   Q. Did you consider whether to include length
12      conducted that for some smokers brand was a       12     of cigarette in the factors to be included
13      very important factor in cigarette choice?        13     in the conjoint analysis?
14             MR. LANDAU: Objection to form.             14   A. I don't recall exactly, but I do know that
15    A. We found there with Melissa that she liked       15     since we had them work within their brand,
16      Parliament, for example. I would say it's         16     they could hypothetically stay with a
17      fair to say that brand is an important            17     certain size.
18      factor in people's cigarette choice.              18   Q. Do you know if all brands are available in
19    Q. For some people --                               19     100s in all styles, that is, ultra light,
20    A. Well, saying this based on my qualitative --     20     light and full flavor?
21    Q. Yes.                                             21   A. No, I don't.
22    A. -- interviews as opposed to being an expert.     22   Q. By the way, did you test the word "regular"
23    Q. Yes. And saying this based on what was           23     to determine whether respondents understood
24      reported to you --                                24     that to mean a filtered cigarette?
25    A. Okay.                                            25            MR. LANDAU: Objection to form.
                                               Page 171                                                 Page 173
 1    Q. -- in the interviews you conducted?               1   A. We tested the word "regular" extensively in
 2    A. Yeah.                                             2     our pretests. I can't recall if there was
 3    Q. And there was -- there are also people who        3     confusion or agreement about whether it was
 4      reported to you in the interviews that you         4     a filtered cigarette.
 5      conducted that the length of the cigarette         5   Q. Did you ask them whether they believed
 6      was important in their choice?                     6     regular to be a filtered or unfiltered
 7             MR. LANDAU: Objection to form.              7     cigarette?
 8    A. I don't recall them saying that. If you can       8   A. No. I asked them if they found the term
 9      show me.                                           9     clear to them and usable.
10    Q. There was one person who reported that he        10   Q. But you don't know whether when they said
11      would only smoke 100 millimeter cigarettes,       11     they understood the term "regular," you
12      smoked Parliament 100 lights. Let me just         12     don't know what they meant by the term?
13      see if I can find it quickly. I'll give it        13   A. I don't know if they meant filtered or
14      one more run, and then we'll move on.             14     unfiltered.
15    A. Okay.                                            15   Q. Okay. How did you find out about the
16    Q. Oh, it's the first person --                     16     request for the time survey?
17    A. Oh.                                              17   A. From counsel by phone.
18    Q. -- Bert, on Page 041.                            18   Q. Which counsel was it?
19    A. Okay.                                            19   A. Paul Gallagher, I believe. I don't want to
20    Q. Do you see the second paragraph, "Smoked         20     speculate, but...
21      Parliaments - and the brand changed to be         21   Q. That's what you recall?
22      all lights. He smoked the 100s. No taste          22   A. Yes.
23      difference. No difference in smoking. He          23   Q. Had he spoken with Dr. Hauser about that, to
24      didn't even notice at first. He was okay          24     your knowledge, when he spoke to you about
25      with that.                                        25     it?
                                                                                44 (Pages 170 to 173)
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                                               Page 186                                                 Page 188
 1      correspondence and notes relating to the           1     in --
 2      time survey.                                       2   A. Yes.
 3    A. Right.                                            3   Q. -- you were provided with costs for the
 4    Q. Let's quickly go through some of these. On        4     survey from Greenfield depending on whether
 5      the page in the lower right-hand corner,           5     you had 600, 700, 800 or 900 participants?
 6      2287, 2287 --                                      6   A. Yes.
 7    A. Yes. 22 --                                        7   Q. And those costs were provided to you on
 8    Q. It's two pages in.                                8     November 29, 2005?
 9    A. Oh, on the right?                                 9   A. Yes.
10    Q. Three pages in, yeah.                            10   Q. In fact, you chose to have over a thousand
11    A. Oh, okay.                                        11     participants; is that correct?
12             MR. GROSSMAN: Let's turn off the           12   A. Not really so much a choice, but that's how
13      tape, please.                                     13     many came out of the screening process.
14             THE VIDEOGRAPHER: The time is              14   Q. And the total cost for that was $39,202?
15      2:54. We're off the record.                       15   A. Where do you see that?
16          (Discussion off the record.)                  16   Q. It's on 2320, which is also HAUSER 626.
17             THE VIDEOGRAPHER: The time is              17   A. So 39,202?
18      2:55. We're back on the record.                   18   Q. Yes, that's correct.
19      BY MR. GROSSMAN:                                  19   A. The best of my recollection.
20    Q. Do you see Page 2287?                            20   Q. And it also notes that there was $20,302 due
21    A. Yes.                                             21     to the additional completes, that is, that
22    Q. In the upper left-hand corner -- this is an      22     there were more than a thousand completed
23      e-mail from you to Sonia Arora and Varun          23     surveys as opposed to 600 that was in the
24      Vig; is that correct?                             24     original estimate?
25    A. Yes. Or -- yes.                                  25   A. That's my understanding.
                                               Page 187                                                 Page 189
 1    Q. And you're passing along an e-mail that came      1   Q. Now, you included former smokers in the time
 2      to you?                                            2     survey which you had not included in the
 3    A. Yes. Or -- well, it's sent to me, so I            3     conjoint survey. How come?
 4      didn't write it.                                   4   A. We understood that the question for timing
 5    Q. Yes.                                              5     was to be asked among both such populations,
 6    A. So someone's sending it to me.                    6     so we had them in the survey.
 7    Q. And the person who sent it to you was Puneet      7   Q. Your conjoint analysis dealt with choices
 8      Khurana from Greenfield Online?                    8     among hypothetical products?
 9    A. Yes.                                              9   A. Yes.
10    Q. Okay. And he wrote he understood you would       10   Q. And people who had stopped smoking no longer
11      be running the project smokers with them,         11     had an interest in choosing among
12      and he wanted to verify some information; is      12     hypothetical products; is that correct --
13      that correct?                                     13           MR. LANDAU: Objection to form.
14    A. That's correct.                                  14   Q. -- presumably?
15    Q. And, in fact, you were -- you did serve as       15   A. Well, I don't know that I could conclude
16      the point person on this?                         16     that.
17    A. To Puneet, yes.                                  17   Q. The conjoint analysis -- let me start this
18    Q. Could you -- and during the pretest each of      18     again.
19      the participants was given a $50 bill; is         19        Assume that the class involved here
20      that correct?                                     20     includes both former and current smokers.
21    A. Generally correct. I think at some point in      21   A. Okay.
22      the pretest we gave movie tickets, but            22   Q. The time study was intended to address that
23      perhaps at that stage that's correct.             23     class of former and current smokers; is that
24    Q. On Page 2304, which is about a quarter of        24     correct?
25      the way in on yours, or a fifth of the way        25           MR. LANDAU: Objection to form.
                                                                                48 (Pages 186 to 189)
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                                                Page 210                                                 Page 212
 1    Q. What is the other possibility, that Dr.            1   Q. As did Dr. Hauser --
 2      Hauser --                                           2            MR. LANDAU: Objection to form.
 3    A. That Dr. Hauser wrote it, and I left the           3   Q. -- from what he told you?
 4      conclusions blank for him to put in.                4            MR. LANDAU: Objection to form.
 5    Q. Okay. One of the two of you wrote that?            5   A. Well, let me clarify that. Around this time
 6    A. Right.                                             6     we had shared this draft with counsel, and
 7    Q. And regardless of who wrote it, up through         7     they informed us of certain facts which
 8      the date of this draft that language                8     caused us to cast doubt upon the time
 9      survived; is that correct?                          9     estimates, and I'm not sure if that's by
10    A. Yes.                                              10     this day, and we just let it alone till we
11    Q. The next sentence says, "Appropriate              11     could think of what to do or if we still
12      qualification questions, stimuli, and              12     felt that way by this day, but around this
13      methods were used to address the potential         13     time when it was first created we believed
14      difficulties respondents may have in               14     this.
15      estimating the years in which events               15   Q. Okay. What facts did -- well, first of all,
16      occurred."                                         16     which counsel informed you of such facts?
17          Did you draft that?                            17   A. I don't recall. It was a conference call.
18    A. It would be the same answer as before.            18   Q. Which counsel participated in the conference
19    Q. Okay. And when that was drafted and               19     call?
20      preserved in this draft, that was your             20   A. I know that Paul Gallagher participated. I
21      belief at the time; is that correct?               21     don't remember the other names --
22    A. Yes.                                              22   Q. Okay.
23    Q. And that was Dr. Hauser's belief at the           23   A. -- because I'm not very good with that.
24      time; is that correct?                             24   Q. That's fine. What did Paul say to you --
25            MR. LANDAU: Objection to form.               25     first of all, Paul had -- Paul Gallagher had
                                                Page 211                                                 Page 213
 1    A.  As far as I know.                                 1     received the earlier drafts of the report
 2    Q.  So far as he told you; is that correct?           2     prior to the conference call; is that
 3    A.  Yeah.                                             3     correct?
 4    Q.  Next paragraph, "The results of the Time          4           MR. LANDAU: Objection to form.
 5      Study can be relied upon as evidence with           5   A. That's not correct.
 6      which to draw inferences about the                  6   Q. Okay. When did he receive that?
 7      distribution of when, if ever, current and          7   A. He received -- he did not receive the draft
 8      former 'light' smokers first changed their          8     of this report until he came to visit us the
 9      beliefs regarding the health effects of             9     Friday of that week, which is whatever day,
10      'light' versus regular cigarettes."                10     the 17th, 16th, I don't know what day that
11          That was drafted either by you or Dr.          11     was, of December.
12      Hauser?                                            12         (Discussion off the record.)
13    A. Yes.                                              13           THE WITNESS: If I may, while you
14    Q. And it survived various drafts of this            14     dig that up, I'll take another quick break.
15      report?                                            15           MR. GROSSMAN: Okay. We'll turn
16    A. Yes.                                              16     off the tape.
17    Q. And that was your belief at the time it was       17           THE VIDEOGRAPHER: The time is
18      written?                                           18     3:31. We're off the record.
19             MR. LANDAU: Objection to form.              19         (Recess taken.)
20    A. I think at the time it was written, if I          20           THE VIDEOGRAPHER: The time is
21      were writing it, I would be writing it in          21     3:44. We are continuing.
22      that format because that is customary, and         22     BY MR. GROSSMAN:
23      then Dr. Hauser would approve it, but at           23   Q. Okay. Could you turn with me to Paragraph
24      that time I believed the survey was valid,         24     18 --
25      yes.                                               25   A. Paragraph 18.
                                                                                 54 (Pages 210 to 213)
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                                                Page 214                                                 Page 216
 1    Q. -- which is on Page 7 to 8.                        1   A. It did survive.
 2            MR. LANDAU: On Exhibit 12?                    2   Q. And it did survive Dr. Hauser's scrutiny
 3            MR. GROSSMAN: Of Exhibit 12.                  3     from the earlier draft?
 4    Q. Do you see where it says, "The results of          4           MR. LANDAU: Objection to form.
 5      the Time Study can be relied upon as                5   A. Yes, but I'm also saying something else, and
 6      evidence with which to draw inferences about        6     it wasn't a mystery question. I'm saying
 7      the distribution of when, if ever, current          7     that before the date of this draft we spoke
 8      and former 'light' cigarette smokers first          8     with counsel, and they revealed certain
 9      came to know or suspect that cigarette              9     facts to us about the way people -- what
10      companies had not been telling the truth           10     people should have been remembering and such
11      about the health effects of 'light' versus         11     that caused us to have doubts about this,
12      regular cigarettes"?                               12     and so this draft is surviving another day
13    A. Uh-huh.                                           13     or so until we could figure out what to do
14    Q. That also reflected your belief and Dr.           14     about it. So that's why I'm quibbling.
15      Hauser's belief as of the time when this           15   Q. Well --
16      draft was written; is that correct?                16   A. When it was first drafted, I was using the
17            MR. LANDAU: Objection to form.               17     usual language for this, and I believed it
18    A. That's not quite correct.                         18     at the time, and John believed it, till we
19    Q. Well, during the -- we just had a break of        19     heard otherwise.
20      some --                                            20   Q. Okay. The only source of your hearing
21    A. Yes.                                              21     otherwise was through counsel; is that
22    Q. -- few minutes?                                   22     correct?
23    A. Yes.                                              23           MR. LANDAU: Objection to form.
24    Q. You had an opportunity to talk with counsel;      24   A. They informed us based on documents they
25      is that correct?                                   25     had, so --
                                                Page 215                                                 Page 217
 1    A. Yes.                                               1   Q. What documents --
 2    Q. Did counsel discuss your testimony in this         2   A. And facts.
 3      deposition during that break?                       3   Q. What documents did they have?
 4    A. Yes.                                               4   A. I'm not sure personally of the exact name of
 5    Q. What did counsel tell you?                         5     those documents.
 6    A. They asked me if I remembered who drafted          6   Q. Did you do any independent research on
 7      the document.                                       7     contemporaneous polls on smokers over
 8    Q. Who drafted the document?                          8     preceding years as to their beliefs of the
 9    A. I said, again, I wasn't quite sure. It's           9     health effects of smoking?
10      likely I did, but I wasn't entirely sure.          10   A. Could you repeat the question?
11    Q. You may have drafted it, or Dr. Hauser may        11   Q. Have you done any research either before you
12      have drafted it? Those are the only two            12     were talking with counsel or after of polls,
13      possibilities; is that correct?                    13     public polls, that were conducted on
14    A. Yes.                                              14     smokers' beliefs of the health risks of
15    Q. And if you drafted it, Dr. Hauser approved        15     smoking over time?
16      it to that point; isn't that correct?              16           MR. LANDAU: Objection to form.
17             MR. LANDAU: Objection to form.              17   A. None other than this study.
18    A. Again, there's certain timing difficulties        18   Q. So your only information is the study that
19      with what you're saying, but -- so I can't         19     you conducted pursuant to scientific
20      answer yes for that.                               20     standards and what counsel told you about
21    Q. You said earlier that this was not the first      21     documents that you haven't seen; is that
22      draft?                                             22     correct?
23    A. That, I did.                                      23           MR. LANDAU: Objection to form.
24    Q. And this language survived from an earlier        24   A. I haven't seen them. That doesn't mean that
25      draft?                                             25     Dr. Hauser hasn't seen them.
                                                                                 55 (Pages 214 to 217)
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                                               Page 218                                                Page 220
 1    Q. Do you know whether he has or not?                1     really familiar with the properties and
 2    A. My belief is he has, yes.                         2     their exact meaning.
 3    Q. Do you know what the documents are?               3   Q. Do you use Dr. Hauser's computer to do
 4    A. I haven't seen them.                              4     drafts of litigation report such as this?
 5    Q. We looked on a calendar. November 16th, the       5   A. I don't type on it. I use my own computer.
 6      date of this draft, was a Friday.                  6   Q. So if this was originally created on Dr.
 7    A. Yes.                                              7     Hauser's computer, it would be he rather
 8    Q. So this was the same date when you met with       8     than you who was the author of the --
 9      Mr. Gallagher and others; is that correct?         9     original author of the document; is that
10    A. We, John Hauser and I, met with Paul             10     correct?
11      Gallagher.                                        11           MR. LANDAU: Objection to form.
12    Q. And did you meet in person?                      12   A. Well, you know, it could have had two lines
13    A. Yes.                                             13     at that point and then come to me.
14    Q. Where did you meet?                              14   Q. Whatever, whatever it was?
15    A. At AMS's offices in Waltham.                     15   A. So it says "John Hauser" and last saved by
16    Q. Had he been provided with any of the drafts      16     me.
17      prior to the meeting?                             17   Q. You said, "On December 16th Mr. Gallagher
18    A. No.                                              18     revealed facts about what people should be
19    Q. Did he read a draft at the meeting?              19     remembering."
20    A. Yes.                                             20         Do you know the nature of those facts?
21            MR. LANDAU: Objection to form.              21           MR. LANDAU: Objection to form.
22    Q. You said that you were test -- that you were     22   A. I can tell you my understanding.
23      speaking with counsel during the break?           23   Q. Okay.
24    A. Yes.                                             24   A. My understanding is that despite all of our
25    Q. Did counsel remind you of any -- attempt to      25     efforts, we were measuring when people
                                               Page 219                                                Page 221
 1      remind you of any facts related to your            1   received the wrong sort of information, that
 2      testimony during the break?                        2   they were supposed to be -- we were supposed
 3    A. Not that I know of.                               3   to detect when their opinions were changed
 4            MR. LANDAU: Objection to form.               4   by either government announcements about the
 5    Q. Did counsel suggest that any answer that you      5   health risks of light cigarettes or -- and
 6      had given so far was incorrect or                  6   regarding when cigarette companies were
 7      misleading?                                        7   misleading people. There were other
 8    A. No.                                               8   documents that came out about this, so that
 9            MR. LANDAU: Objection to form.               9   they were referring to specific events, as
10    Q. What did counsel say?                            10   far as I can see, not the personal events
11    A. They said when I discussed it with them          11   that I was detecting in pretest and probably
12      before, that I had said that I had drafted        12   in the survey.
13      the conclusions we were discussing, and here      13 Q. Well, in fact, you made no effort to review
14      I said I wasn't quite sure.                       14   newspaper -- historic newspapers, other
15    Q. And, in fact, you're not quite sure. Is          15   historic documents, historic surveys by
16      that correct?                                     16   Gallup, the Gallup organization or others to
17    A. Yes, I said it's probable, but I'm not quite     17   determine contemporaneous public opinion on
18      sure, so they commented about it.                 18   the health effects of smoking in the 1950s,
19    Q. In fact the properties, which is document        19   '60s, '70s, '80s, or '90s; is that correct?
20      13 --                                             20          MR. LANDAU: Objection to form.
21    A. Yeah.                                            21 A. I did not review those reports.
22    Q. -- indicates that the first draft was on Dr.     22 Q. You didn't review them before Mr. Gallagher
23      Hauser's computer; is that correct?               23   said that there must be something wrong with
24            MR. LANDAU: Objection to form.              24   the study, and you didn't review them after
25    A. It does say "John Hauser" there. I'm not         25   Mr. Gallagher said there must be something
                                                                                56 (Pages 218 to 221)
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                                               Page 234                                                 Page 236
 1    A. No. I just told you that it seemed to me to       1     when did that change in beliefs occur? That
 2      be more of a legal question. He did not say        2     was one question. And the other question
 3      to me per se this is a legal question. It          3     was -- and, again, I haven't seen it in a
 4      was a question of what was the study trying        4     while since it's been months, but we were
 5      to measure and showing us that what we had         5     trying to measure if you believed that the
 6      asked was incompatible with what the study         6     cigarette companies had misled you, I'm not
 7      was actually trying to measure, which to us        7     sure the exact verb, but something about
 8      was, you know, a compelling sort of                8     lied, misled, if they had misled you about
 9      argument. It's not that --                         9     the health risks of light versus regular
10    Q. Nothing --                                       10     cigarettes, when did you realize that that
11             MR. LANDAU: Excuse me.                     11     was occurring?
12    A. It's not that we got too low a number or         12   Q. There was a third thing you were measuring
13      something. It's just an impossible number,        13     as well, wasn't there? Didn't you ask the
14      which is different from bad results where he      14     respondents whether they currently believed
15      would want a better result.                       15     that light cigarettes were more dangerous,
16             MR. GROSSMAN: Move to --                   16     less dangerous or as dangerous as regular
17    A. It was impossible results.                       17     cigarettes?
18             MR. GROSSMAN: Move to strike as            18   A. Well, what we were trying to do --
19      non-responsive. There was no pending              19   Q. I need a --
20      question as well.                                 20   A. Okay. You want as short an answer as
21    A. Well, I was finishing my previous answer.        21     possible? That was not measured in the same
22    Q. Mr. Gaskin, you're saying that Mr. Gallagher     22     sense that you referred to the two other
23      said that you were asking the wrong               23     questions.
24      questions?                                        24            MR. GROSSMAN: (To Mr. Gleason.)
25             MR. LANDAU: Objection to form.             25     Let's get out the survey. Let's have the
                                               Page 235                                                 Page 237
 1    A. He didn't say it in exactly those words,          1     time -- the screen shots.
 2      but --                                             2           (Exhibit No. 14, Document headed
 3    Q. That's what you inferred?                         3     "Draft Exhibit J," Nos. E31 - E60, marked
 4    A. Yes. What we were measuring was not what we       4     for identification.)
 5      were supposed to measure.                          5   Q. Mr. Gaskin, I'm handing you what's been
 6    Q. What you did measure was accurately               6     marked for identification purposes as Gaskin
 7      measured, so far as you understood and still       7     Exhibit No. 14.
 8      believe; is that correct?                          8   A. All right. And I just want to comment that
 9             MR. LANDAU: Objection to form.              9     these were a lot clearer and in color when
10    A. Well, let's put it this way: It was our          10     we handed them in.
11      best shot at that. Measuring time events is       11   Q. Okay.
12      always difficult in market research when          12   A. Because they're a little hard to read.
13      people did something, because as you know,        13   Q. I don't -- I don't mean to make this a
14      people don't really remember things that          14     reading exam, but I would like to address
15      well. But it was our best effort to measure       15     your attention to Page 39.
16      those questions.                                  16   A. Yes.
17    Q. Well, what did you believe you were              17   Q. And you see on that question it asks
18      measuring?                                        18     consumers, "Through your own experience,
19    A. Well, if we could look at the text of the        19     including what you may have heard from
20      questions, I believed that -- well, I'll try      20     television, newspapers, the government,
21      to answer that as far as I recall. There          21     friends, or other sources, you may have
22      were two questions: One was if you changed        22     formed beliefs about the health risks of
23      your belief in the health risks of light          23     certain types of cigarettes. For example,
24      cigarettes and that belief changed from less      24     you might believe that smoking light
25      health risk to some -- to more health risk,       25     cigarettes has more health risks or less
                                                                                60 (Pages 234 to 237)
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                                               Page 238                                                 Page 240
 1      health risks than smoking regular                  1   Q. And, in fact, it was your understanding,
 2      cigarettes"?                                       2     based upon all your meetings with counsel
 3    A. Yes, it says that.                                3     before December 14th, 15th or 16th, whenever
 4    Q. "We want you to use your," all capitals,          4     you spoke with Mr. Gallagher and he said
 5      "personal belief," highlighted, "as you            5     that there was a problem, it was always your
 6      answer the following question: Do you              6     understanding that you were probing the
 7      personally believe that smoking light              7     beliefs of light smokers based upon what
 8      cigarettes has more health risks than              8     they had heard from a wide variety of
 9      smoking regular cigarettes, the same health        9     sources, not just what they had heard from
10      risks as smoking regular cigarettes, less         10     government reports; is that correct?
11      health risks than smoking regular                 11           MR. LANDAU: Objection to form.
12      cigarettes," or "I don't know and not sure"?      12   A. Well, to be honest, Mr. Gallagher was not
13    A. That's what it says.                             13     really very available during this time. It
14    Q. Yes. Now, that question was administered,        14     is possible he looked at it. I don't know
15      and it was answered, correct?                     15     for sure because he was often traveling out
16    A. Correct.                                         16     of the country and unreachable, and we were
17    Q. And nothing that Mr. Gallagher said about        17     on a very tight schedule.
18      historic events affects the validity of the       18   Q. Well, whether he looked at it or not, it was
19      answers to that question; is that correct?        19     available to him and all of plaintiffs'
20            MR. LANDAU: Objection to form.              20     counsel in the period before it was
21    A. That's correct, but, again, I would like to      21     administered; is that correct?
22      explain that this is a foundational question      22           MR. LANDAU: Objection to form.
23      where we're trying to find people with a          23   A. Yes, it was available.
24      large change between their previous and           24   Q. And it was your understanding -- regardless
25      posterior belief, so it's not intended to be      25     of where Mr. Gallagher was anyplace in the
                                               Page 239                                                 Page 241
 1      a measure -- as an exact a measure as the          1     world, it was your personal understanding,
 2      conjoint analysis of whether people deeply         2     based upon all of your conversations with
 3      believe that the cigarettes are more or less       3     counsel and your reading of Judge
 4      risky.                                             4     Weinstein's opinion and any other
 5             MR. GROSSMAN: All right. Move to            5     information that you had at your disposal,
 6      strike the latter part as non-responsive.          6     that you were testing light smokers' beliefs
 7    Q. Was this question available to Mr. Gallagher      7     and awareness on the basis of what they had
 8      and plaintiffs' counsel before it was              8     heard from all sources, not just from the
 9      administered in the survey?                        9     government; is that correct?
10             MR. LANDAU: Objection to form.             10           MR. LANDAU: Objection to form.
11    A. Yes.                                             11   A. It was my belief that the information could
12    Q. And do you see that the question which has       12     come from any source.
13      been available to counsel before December         13   Q. Okay. Now, Mr. Gallagher told you that he
14      14th, 15th or 16th, in fact, before November      14     did not want a survey -- let me go back.
15      30th said, "Through your own experience,          15         On December 14, 15th or 16th when you
16      including what you have heard from                16     spoke with Mr. Gallagher after the first
17      television, newspapers, the government,           17     draft or so of the report on the time
18      friends, or other sources," counsel had           18     survey --
19      approved a question that related to sources       19   A. Right.
20      of information on the health risks of light       20   Q. -- Mr. Gallagher said he was not interested
21      cigarettes that extended well beyond              21     in when people changed their minds generally
22      government reports; is that correct?              22     but only when they changed their mind as a
23             MR. LANDAU: Objection to form.             23     result of government reports; is that
24    A. This question does base people's opinions on     24     correct?
25      more than just government reports.                25           MR. LANDAU: Objection to form.
                                                                                61 (Pages 238 to 241)
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                                               Page 242                                                Page 244
 1    A. This is my understanding of it, and I can't       1     Exhibit No. 14 -- 15, which is a draft
 2      recall exactly what he said, but that's the        2     report that we believe is dated December
 3      sense that I got from him.                         3     19th.
 4    Q. That's -- and accurately reports on the           4         (Discussion off the record.)
 5      sense that you got?                                5           (Exhibit No. 15, Draft Expert
 6              MR. LANDAU: Objection to form.             6     Witness Report by Dr. John R. Hauser, marked
 7    A. Yes, that their knowledge was based --            7     for identification.)
 8      should be based on certain events which            8           MR. GROSSMAN: Let's turn off the
 9      occurred at a certain time.                        9     tape.
10    Q. Now, did Mr. Gallagher ever tell you that in     10           THE VIDEOGRAPHER: The time is
11      1983 one of the experts in this case named        11     4:23. We are off the record.
12      Dr. Benowitz published a report that was          12         (Recess taken.)
13      widely reported in newspapers throughout the      13           THE VIDEOGRAPHER: The time is
14      country in which he said that he found that       14     4:23. We are back on the record.
15      smokers of light cigarettes had the same          15     BY MR. GROSSMAN:
16      risks as smokers of full-flavored                 16   Q. Mr. Gaskin, I've handed you what's been
17      cigarettes?                                       17     marked for identification purposes as
18              MR. LANDAU: Objection to form.            18     Exhibit No. 15, which is a copy of a draft
19    A. Full-flavored cigarettes?                        19     report which we believe is dated December
20    Q. What you referred to as regular cigarettes?      20     19th. I would like to turn your attention,
21    A. I've not heard of that report.                   21     if I may, to Page 31.
22    Q. Okay. Mr. Gallagher didn't tell you about        22   A. Just a moment. Can you tell me why this is
23      it; is that correct?                              23     December 19th?
24    A. Not that I recall.                               24   Q. From the properties that were --
25    Q. Mr. Gallagher didn't tell you about polls of     25   A. Can I see them?
                                               Page 243                                                Page 245
 1      light smokers conducted in the 1980s or            1   Q. Yeah, sure. Let me get them out.
 2      1990s that showed that a majority of light         2   A. And what was the name of this file?
 3      smokers at that time believed that light           3   Q. Now you've got me there.
 4      cigarettes were as dangerous as regular            4   A. Because that's how I'll recognize it.
 5      cigarettes, did he?                                5   Q. I hand you what I'll mark as Exhibit No. 16,
 6             MR. LANDAU: Objection to form.              6     which is a printout of the properties that
 7    A. Well, I don't know of -- I haven't heard of       7     we found related to that document.
 8      such polls.                                        8            (Exhibit No. 16, Document headed
 9    Q. Okay. And it follows from that that Mr.           9     "Hauser's December 19 Draft Time Exhibits -
10      Gallagher didn't tell you about that; is          10     Properties," marked for identification.)
11      that correct?                                     11   A. Yeah, let's take a look.
12             MR. LANDAU: Objection to form.             12        (Witness reviews document.)
13    A. I think it follows that I don't recall him       13            MR. LANDAU: Do you have a copy of
14      telling me about that.                            14     that?
15    Q. Okay. Now, when the draft in front of you        15            MR. GROSSMAN: I don't have one
16      was written and the earlier drafts were           16     more copy. You can look on with him.
17      written, it was your understanding that this      17   A. This is for exhibits. This isn't for the
18      report would be submitted to the Court as a       18     report.
19      final report with no further studies to be        19   Q. Okay. Then it's the wrong one.
20      undertaken; is that correct?                      20            MR. BUTTERFIELD: Just put it down
21             MR. LANDAU: Objection to form.             21     there.
22    A. I wasn't aware of any further studies that       22            THE WITNESS: Okay.
23      would take place.                                 23            MR. GROSSMAN: Okay. We have to go
24    Q. Okay. Now, let me hand you what I'll have        24     off again because he has to change the tape.
25      marked for identification purposes as Gaskin      25     Let's go off the record.
                                                                                62 (Pages 242 to 245)
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                                                Page 250                                                  Page 252
 1    A.  Okay. So not the 19th?                            1   A. It was saved.
 2    Q.  No, the 18th apparently; is that correct?         2   Q. When did you leave for Belize?
 3    A.  That looks like one of my files.                  3   A. Early in the morning on the Saturday of the
 4    Q.  Based upon your review of the files, a draft      4     17th.
 5      was made on December 18th?                          5   Q. Okay. And if this document was created in
 6    A. It was saved on December 18th.                     6     its -- revised on December 17th and saved on
 7    Q. December 18th, okay.                               7     December 18th, it makes sense that you would
 8          Let's look at Exhibit 15, which we now          8     not have seen it; is that correct?
 9      believe is the draft that was saved on              9   A. That would make sense.
10      December 18th; is that correct?                    10   Q. You never -- in all the time that you worked
11             MR. LANDAU: Objection to form.              11     on the time survey, you never referred to it
12    A. Well, that's what it says. I just want you        12     as the experimental time study draft; is
13      to know that I was no longer in Boston on          13     that correct?
14      the 18th.                                          14   A. That's correct.
15    Q. Where were you?                                   15   Q. Nor did Dr. Hauser refer to it that way to
16    A. I was in Belize in Central America, so I was      16     you in all the time that you referred -- you
17      not reachable at that point.                       17     worked on it; is that correct?
18    Q. So you were not involved -- let me rephrase       18   A. That's correct.
19      the question.                                      19   Q. Were you involved in preparation of the
20          We previously reviewed a draft of              20     draft that was signed and served on
21      December 16th which you said was not the           21     defendants December 19th that contained
22      first draft of the report but which was            22     Footnote 2 that you referred to earlier?
23      later revised again; is that correct?              23   A. No.
24    A. That's correct.                                   24            MR. LANDAU: Objection to form.
25    Q. Were you involved in any revisions of that        25   Q. Did you know that such a revision was taking
                                                Page 251                                                  Page 253
 1      draft after that draft was written?                 1     place when it did?
 2    A. Yes.                                               2   A. No. I was unreachable, or at least not
 3    Q. Okay. Could you look at Exhibit No. 15 --          3     easily reachable.
 4    A. Uh-huh.                                            4         (Pause.)
 5    Q. -- Page 31.                                        5   Q. Could you turn with me to Paragraph 96,
 6    A. Page 31. All right.                                6     which reads as follows: "I am informed that
 7    Q. Do you see it says at the top "Overview of         7     the public health community did not reach a
 8      Methodology - Experimental Time Study               8     consensus that 'light' cigarettes had the
 9      (Draft)"?                                           9     same health risk as regular cigarettes until
10    A. Yes.                                              10     approximately 2001. If this is the case and
11    Q. Were you involved in drafting a revised           11     if respondents did not have a means to form
12      draft that referred to the time study as an        12     these beliefs prior to 2001, then it appears
13      experimental time study draft?                     13     that respondents are either telescoping
14    A. Not to my knowledge.                              14     their responses to earlier dates,
15    Q. Okay. So someone else revised this draft to       15     remembering other events, or some other
16      include that language?                             16     reporting error. Furthermore, these effects
17    A. To include the word "experimental."               17     appear to be greater for less confident
18    Q. And "draft"; is that correct?                     18     respondents."
19            MR. LANDAU: Objection.                       19   A. All right.
20    A. Yes.                                              20   Q. Does that refer to the material and
21    Q. And this draft was in all likelihood              21     statements that Mr. Gallagher was making?
22      prepared after you had left for Belize --          22            MR. LANDAU: Objection to form.
23            MR. LANDAU: Objection.                       23   A. I believe so.
24    Q. -- or were otherwise unreachable?                 24   Q. Now, with regard to the phrase "if
25            MR. LANDAU: Objection to form.               25     respondents did not have a means to form
                                                                                  64 (Pages 250 to 253)
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 1      these beliefs prior to 2001," do you recall        1   Q. Okay. Now that we have that caveat in
 2      whether Mr. Gallagher said that light              2     place, but for the information that was
 3      smokers did not have a means to form their         3     presented to you by plaintiffs' counsel --
 4      beliefs before 2001 as to the health risks         4   A. Yes.
 5      of lights versus regular cigarettes?               5   Q. -- the December 16th draft report on the
 6             MR. LANDAU: Objection.                      6     time study and on the degree of confidence
 7    A. Again, I don't recall exactly what he said.       7     that the Court could place on the time study
 8      So you can try again, I'm sorry.                   8     would have been filed with the Court on or
 9    Q. Based upon your best recollection, did Mr.        9     before December 19th --
10      Gallagher suggest or state that prior to          10           MR. LANDAU: Objection --
11      2001 light smokers did not have a means to        11   Q. -- in substantially the same form?
12      form a belief that light cigarettes were as       12           MR. LANDAU: Objection to form.
13      dangerous as regular cigarettes?                  13   A. That's my belief.
14             MR. LANDAU: Objection to form.             14   Q. Okay. Now, when you were conducting the
15    A. I don't believe so.                              15     conjoint survey and you asked respondents to
16    Q. Did Mr. Gallagher ever tell you that he and      16     compare the risks of light cigarettes and
17      his law firm filed cases with essentially         17     regular cigarettes, were you asking them to
18      similar -- essentially identical allegations      18     compare the risks on a per cigarette basis
19      as early as 1998?                                 19     or on a total basis depending upon the
20             MR. LANDAU: Objection to form.             20     number of cigarettes smoked?
21    A. I haven't heard that. I don't know when          21           MR. LANDAU: Objection to form.
22      these things are filed or when this one was       22   A. That's an either/or question, and the answer
23      filed.                                            23     would be neither.
24    Q. Okay. But for Mr. Gallagher's intervention       24   Q. What were you asking them to compare?
25      the report that was done in draft form on         25   A. We were asking them a more general question,
                                               Page 255                                                 Page 257
 1      December 16th would have been filed with           1     the health risk you perceive light
 2      Judge Weinstein reporting on the time              2     cigarettes, the health risk you perceive
 3      survey; is that correct?                           3     regular cigarettes to have. It was not --
 4             MR. LANDAU: Objection to form.              4     we could look at the screens, but I don't
 5    A. Not so much as intervention as the                5     believe it was in quite that detail.
 6      information he presented.                          6   Q. Okay. I don't believe it was in that
 7    Q. Okay. Just for clarity of the question and        7     detail, either --
 8      answer --                                          8   A. Okay.
 9    A. Yes.                                              9   Q. -- and so I'm trying to see if there's a
10    Q. -- but for Mr. Gallagher's providing             10     latent ambiguity.
11      information in mid-December 2005 the report       11   A. All right.
12      that is in draft form on December 16th, 2005      12            MR. LANDAU: Objection to form.
13      reporting on the time survey and the degree       13   Q. Both in the time study and in the conjoint
14      of confidence that the Court could place on       14     study, in pretests and in previous
15      it would have been filed with the Court on        15     interviews did you ever seek to clarify
16      or before December 19th; is that correct?         16     whether consumers were evaluating light
17             MR. LANDAU: Objection to form.             17     cigarettes versus regular cigarettes on a
18    A. I would have a slight caveat to that.            18     per cigarette basis or on a total basis?
19    Q. Your answer is yes with a caveat?                19            MR. LANDAU: Objection to form.
20             MR. LANDAU: Objection to form.             20   A. No, I did not.
21    A. No, my answer is I have a caveat.                21   Q. Okay. So you don't know if in responding to
22    Q. What is the caveat?                              22     the surveys consumers were responding on
23    A. Mr. Gallagher is the one counsel I can           23     a -- to the comparative risks on a per
24      remember, but we were presented this by a         24     cigarette basis or on a total basis?
25      group of counsel.                                 25            MR. LANDAU: Objection to form.
                                                                                65 (Pages 254 to 257)
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                                                 Page 262                                                 Page 264
 1      One was don't know, one was less than the            1   A. That's how they answered that question.
 2      health risks of a regular, the other one was         2   Q. And only 16 percent of respondents --
 3      the same, the other one was more, correct?           3   A. Wait. I'm sorry, I've lost the other page.
 4    A. Those were the scales, yes.                         4     Can you tell me where that is?
 5    Q. And --                                              5   Q. Yes. That's Page 6 -- Hauser 696 which is
 6    A. Well, more or less, yes.                            6     all the way toward the back. It's 2390.
 7    Q. Yes. And 76.9 percent of the respondents            7   A. Of Exhibit?
 8      said that they believed that light                   8   Q. Of Exhibit 11.
 9      cigarettes had the same health risk as               9   A. Okay. Which page? I'm -- oh, wait. I'm
10      regular cigarettes; is that correct?                10     there. Okay. I was lucky.
11    A. That's how they answered that, yes.                11   Q. Okay. And 16.0 percent of those who had an
12    Q. In fact, among those who had an answer,            12     answer, who have an opinion, believed that
13      81.9, almost 82 percent, believed that the          13     light cigarettes had less health risks than
14      risks of lights were the same as the risks          14     smoking regular cigarettes?
15      of regulars?                                        15   A. That's their stated belief.
16    A. I would not --                                     16   Q. That's their stated belief; is that correct?
17             MR. LANDAU: Objection to form.               17   A. That's what they said, yes.
18    A. -- characterize this, correct.                     18   Q. Yes. Now, there were a number of
19    Q. I'll rephrase the question because I think I       19     differences between the question that was
20      know what your --                                   20     asked in the time survey on this issue and
21    A. Okay.                                              21     the question that was asked in the conjoint
22    Q. -- problem is. In response to the question         22     survey on this issue; is that correct?
23      that you asked, 81.9, almost 82 percent, of         23   A. That's correct.
24      respondents said that they believed that the        24   Q. Let's get out the question -- let's get out
25      health risks of light cigarettes were the           25     the conjoint analysis screen shots.
                                                 Page 263                                                 Page 265
 1      same as the health risks of regular                  1         MR. GROSSMAN: In fact, this is,
 2      cigarettes; is that correct?                         2   for me, a good time for a bathroom break.
 3            MR. LANDAU: Objection to form.                 3   Why don't we turn off the -- let's take a
 4    A. I don't recall if the verb was "believe" or         4   break.
 5      "perceive."                                          5         THE VIDEOGRAPHER: I'm sorry?
 6    Q. Let's go back to the --                             6         MR. GROSSMAN: Break time.
 7    A. Yeah.                                               7         THE VIDEOGRAPHER: A break, I'm
 8    Q. -- screen shot.                                     8   sorry. The time is 4:56. We're off the
 9    A. They did answer at that scale value of the          9   record.
10      question.                                           10      (Recess taken.)
11    Q. Look at Exhibit 14 with me again. You have         11         THE VIDEOGRAPHER: The time is
12      a copy there in front of you.                       12   5:16. We are back on the record.
13    A. Oh, yeah. It's here somewhere.                     13         (Exhibit No. 20, Document headed
14    Q. Looking at the time survey --                      14   "Exhibit D, Questionnaire, Web Survey Screen
15    A. Yes, okay. I see it.                               15   Shots," Nos. E4 - E24, marked for
16    Q. -- 80 -- almost 82 percent of all                  16   identification.)
17      respondents who had an opinion said that            17   BY MR. GROSSMAN:
18      they believed that smoking light cigarettes         18 Q. Mr. Gaskin, I've handed you what's been
19      had the same health risks as smoking regular        19   marked for identification purposes as
20      cigarettes; is that correct?                        20   Exhibit No. 20. That's a copy of the screen
21    A. That's how they answered that question.            21   shots from the conjoint --
22    Q. And 2 percent said they believed that the          22         THE VIDEOGRAPHER: Counselor, I
23      health risks of light cigarettes were               23   don't think you're wearing your...
24      greater than the health risks of regular            24         MR. GROSSMAN: Let's --
25      cigarettes; is that correct?                        25 Q. Okay. It's a copy of the screen shots from

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